                                             Wednesday, February 9, 2022 at 15:06:13 India Standard Time


Subject:    Re: Response to your email dated November 1, 2021                                  EXHIBIT




                                                                                                              exhibitsticker.com
Date:       Friday, 12 November 2021 at 6:32:32 AM India Standard Time
From:       Vinay Chandra                                                                        Pltf Ex 3
To:         Jose Suarez
CC:         Stanley MoFa (sa.moFa@moFa-int.com), Regis Vogel, Hemanth Kuramkote
            Ramakrishnaiah, Shahabudin Iqbal Ahmed, Keerthi Shekar
AFachments: image003.jpg

Dear Jose,

I am in receipt of your email which I will acknowledge as your response to my November 1, 2021 NoVce
pursuant to SecVon 9.2 of the MSA.

Your narraVve does not adequately address any of HPS’ claims and your aFachments do not provide
support for your posiVon that no monies are owed to HPS.

At this point it will suﬃce to respond that HPS stands by its claim for unpaid fees and since HPS has not
been paid, retains its claim as to ownership of all Developed Property.

We will conVnue to proceed under SecVon 18.1 of the MSA. I will assume that you are the senior
execuVve who has seFlement authority and will represent Vaeso in any further negoVaVons.

As of the date of this email, there remain 19 days in the “good faith negoVaVon” period and 10 days for
the execuVves to meet and negoVate.

While I am willing to discuss resoluVon, I do not see much reason to deviate from HPS’s current posiVon
at this Vme. Accordingly, HPS will conVnue the transiVon plan I previously outlined. To the extent your
implementaVon of the Nike, Decathlon and Sketchers projects is aﬀected, you may place the blame on
your failure to pay us for the work we have performed.

I am willing to hear what you have to say to make us whole for the work HPS has performed all these
years. My availability for a call is Monday Nov 15 between 8.30-9.30 AM or 9.30PM-10.30PM EST,
Tuesday Nov 16 between 10-11AM EST.

Sincerely,

Vinay

On Thu, Nov 11, 2021 at 9:26 PM Jose Suarez <jsuarez@vaeso.com> wrote:

         Dear Vinay,



         In appreciation for your email of November 1st where you seek to find a
         solution that works for both of us, and considering that your email references
         US Federal Rule of Evidence 408 and New York Law CPLR 4547 as
         inadmissible evidence, the information provided in your email, and exercising-
         enacting the same rules for this my email of November 11, we hereby confirm
         that based on the:


               Email dated August 1, 2019 (herein with attached) confirming

                                                                                                    Page 1 of 7
        that on that date, only the July 2019 invoice was outstanding
        (plus a few smaller expense balances from May and June of
        2019); thus, confirming the voiding of invoices emitted by HPS to
        Impactiva S. de R. L. in Jan-Feb-Mar 2019 as we mutually
        agreed to cancel the terms of invoicing from the previous MSA
        Exhibit B invoicing rates to that of the exact salary of each HPS
        employee assigned to Impactiva (thereafter Vaēso)(the
        cancellation of previous invoices and re-emission at the much
        lower rates created a substantial credit from HPS to Impactiva
        resulting in the annulment of such invoices; fact, which is
        evidenced by your August 1, 2019 email accepting the July 2019
        invoice as the only outstanding invoice at that date);
        The credit notes provided by HPS in March 2020 for the amount
        of USD 46,354 and in August 2020 for USD 40,291 (attached
        above);
        The non-acceptance of admin fees totaling $5,312 in August
        2021 and $5,275 in September 2021;
        Our payment earlier this week of $58,232 in full-payment for
        HPS’s invoice of October 2021 ($61656 minus the not approved
        admin fees of $3,424);


the balance owed to HPS for services rendered from August 2018
until October 2021 is $0.


Note:
        We do not have in our books the below invoices totaling $13,787
        and to our knowledge this is the first time we receive notice from
        you that these invoices are outstanding.




        The above defined balance of $0 does not include the amount
        owed and pending to be credited by HPS to Vaēso for the value
        of the December 2020 invoice which you agreed to emit as soon
        as we complete the installation of our 10th factory as per the
        agreement you and I reached in our meeting of end July 2020
        (agreement which was duly recorded based on the email I sent
        you after said meeting)


In appreciation for the team that you have built for us and is working hard


         Note: we do ask that HPS avoid the disturbances and consequent
         significant reduction in productivity suffered by the HPS Team being

                                                                                Page 2 of 7
        provided to Vaēso. This loss in productivity occurred from mid-
        September through October as said HPS Team allocated exclusively to
        Vaēso were asked to interview for new roles in potential new non-
        Vaēso projects of HPS and also spend time learning new technology
        skills unrelated to the needs of the Vaēso project. This interference
        caused a +15 day delay in Vaēso’s deliverables and effectively
        undermined the language and spirit of clause 4.2 of the MSA signed
        between the parties; we also hereby notify you that we are aware that
        you have retained the services of Anoop Sunheendra, the ex-QA Lead
        provided by HPS to Vaeso and that any further transfer of such manner
        will breach the “minimum” defined in clause 4.2 of the MSA creating a
        breach by HPS of the MSA signed between the parties.


to complete some mission critical deliverables during the next 90 days which
are necessary for the successful implementation of the following projected
projects: Nike factory in Shenzhen, Decathlon factory in Tunisia and the
Skechers factory in Vietnam, please confirm a time when we can speak in the
next few days.


Regards,
Jose




From: Vinay Chandra <vinay@highpeaksw.com>
Sent: Monday, November 1, 2021 7:25 AM
To: Jose Suarez <jsuarez@vaeso.com>
Subject: Response to your email



Dear Jose,



I am writing in follow up on your original October 3, 2021, email in which you indicated your
belief that “we both should reach a final conclusion on the HPS – Vaēso contract” and the
termination proposal contained therein as well as the various communications on this issue and
the necessary transition implied in such a termination sent subsequently.



We agree with your declared intention to reach a solution that works for both parties. Since we
are working towards a solution, I am going to be very frank, and you should recognize that this
correspondence is an attempt to negotiate a compromise of a disputed matter and therefore is
inadmissible as evidence under Federal Rules of Evidence 408 and CPLR 4547.




                                                                                                  Page 3 of 7
It has become evidence that you and I are in complete disagreement as to the value which HPS
has provided to Impactiva/Vaeso and how the termination and transition should be conducted.
Given that we see this issue differently, I am not going to spend time refuting the various
statements in your emails that seek to detract from the services performed by HPS. It will
suffice to state that we disagree that HPS has been anything but a valued resource to
Impactiva/Vaeso. Impactiva/Vaeso would not be in the position it is in the marketplace but for
HPS’ services and work product.



Before outlining our position, I think it important to restate certain historical facts to ensure we
have a common set of underlying facts upon which to proceed in further discussions concerning
our relationship.



As you have noted in your emails, the relationship between the parties is governed by that
certain Master Services Agreement, effective August 1, 2018, between Impactiva S. de R.L.
and High Peak Software, Inc.



The MSA was amended on September 24, 2020, to include a provision designating Vaeso S.
De R.L. as an intended third party beneficiary of the MSA and Impactiva indicated its intention
“to assign all of its right, title and interest in and to the Developed Property described in Section
9 of the MSA to Vaēso S. de R. L. (“vaēso”), a separate corporate entity organized under the
laws of the Republic of Panama and that Vaeso intends to commercialize the Developed
Property”. However, the amendment does not substantively modify the obligations of the
parties in the MSA.



The MSA provides that Impactiva retained HPS to perform certain software development and
testing services. The MSA further provides that such services would be specified in one or
more Statements of Work (“SOWs”) which would be governed by the terms of the MSA.



SOWs were intended to identify the work to be performed by HPS on behalf of Impactiva. Such
detail included the “Project”, the “Services”, the “Deliverables” to be provided to Impactiva by
HPS, as well as the “Specification” of such Deliverable or Project. The SOW to be issued were
required to be in writing and be executed by both parties in order to “form a part of this [MSA]
and become subject to the terms and conditions of this [MSA]”.



Of note, no written SOWs were ever executed by the parties and therefore no “Project(s)”, the
“Services”, or “Deliverables” were ever expressly incorporated into the MSA.



Nevertheless, we both know that HPS provided three years of technical software development
and testing services to Impactiva/Vaeso and this work has allowed Impactiva/Vaeso to make
significant progress with its customers. For its work, HPS was to be paid the billing rates for
personnel set forth in Exhibit B to the MSA. Exhibit B generally provides that billing would be
either on a US$ per hour rate-basis ranging between $10 and $30, or on a US$ per month-
basis ranging between $1,600 and $5,600 depending on the technical role of the HPS team
member.



In approximately April 2019 Impactiva/Vaseo and HPS reached an agreement to deviate from
the billing rates in Exhibit B. The agreement was that HPS would bill resources at “cost” with no
markup in exchange for HPS receiving an equity stake in Impactiva/Vaseo. The value of the
equity stake was intended to compensate HPS for the lost profit it was foregoing by only
invoicing Impactiva/Vaseo on a cost basis.


                                                                                                        Page 4 of 7
To date, HPS has invoiced Impactiva/Vaseo $1,927,519 in fees and expenses.
Impactiva/Vaseo has paid $1,608,233.24 leaving an outstanding balance of $318,396.53. Of
greater relevance, pursuant to the oral agreement discussed above, HPS has foregone
$1,933,420 in fees that it was contractually entitled to receive under Exhibit B of the MSA. I
have attached a spreadsheet detailing these particulars and I would be glad to discuss any
questions you may have.



Obviously, you are aware that HPS was not working for free and that HPS expected to be
compensated for its provision of personnel resources and technical know-how in its software
development – whether by its margins on its billed resources or alternatively through an equity
stake. HPS’ foregoing its profits that it earned must be addressed and this issue remains a
disconnect between HPS and Impactiva/Vaseo. In short, HPS is entitled to $1,933,420 and
needs to receive compensation prior to HPS providing further substantive cooperation beyond
simple transition activities.



HPS’ entitlement to these fees has ramifications. As detailed in Section 9.2 of the MSA,
Impactiva/Vaseo does not become the owner of any “Developed Property” created by HPS
under the MSA until HPS has been paid in full for its services. Because of the importance of
this section 9.2, I will restate the provision in its entirety:



                9.2 Developed Property. The parties agree that, subject to
                the     payment     by     Customer       of   all    amounts
                owed to Provider therefor, and except as otherwise set f
                orth in Section 9.3 below, the following property (collectively,
                 the “Developed Property”) shall be the sole and exclusive prop
                erty of Customer and will be promptly delivered to Customer u
                pon its request:



                        a)    any and all inventions however embodied, kno
                        w how, works in any media, software (in all
                        forms of code), information, trade secrets, materials, D
                        eliverables,     and     any    other    work    product
                        or work of authorship of any kind that Provider makes
                        , develops or reduces to practice, alone
                        or jointly with others, in the course of performing work
                           for Customer under this Agreement or as
                        a result of that work, whether or not they are eligible f
                        or legal protection; and



                        b) any and all property rights (including without limi
                        tation all copyrights, patents, trade secrets,
                        moral rights, and other property rights) in and to any a
                        nd all of the property described in clause (a) above.




                                                                                                  Page 5 of 7
                 Subject to the payment by Customer of all amounts owe
                 d to Provider under this Agreement, Provider
                 hereby assigns to Customer all right, title, and interest in and to
                 all Developed Property, including without limitation the right to
                 secure       patent,     copyright,      and        other      property
                 rights       throughout         the       world,         the        right
                 to have and to hold such patent, copyright, and other
                 property rights in perpetuity, and the right to claim priority und
                 er any relevant laws, regulations, treaties, or conventions,
                 regardless                of              whether                  such
                 Developed Property is deemed “works make for hire” pursua
                 nt     to     the     United      States      Copyright       Act      or
                 other applicable copyright laws. In any event, the parties here
                 by agree that, subject to the payment by Customer of all a
                 mounts owing to Provider under this Agreement, all original
                            works           of           authorship              created
                 by Provider which constitute Developed Property shall, to t
                 he         extent       legally        permissible,          constitute
                 “works made for hire” (and Customer shall be considered the
                   “author” thereof) pursuant to the United States Copyright Act
                   and other applicable copyright laws, as the same may be m
                 odified                 from                   time                    to
                 time. Provider hereby represents and warrants to Custome
                 r      that      Provider        has      full       authority       and
                 unrestricted right to assign to Customer all Developed Propert
                 y      without     incurring      legal     liability     to     others.
                 Upon Customer’s request, Provider shall execute and delive
                 r     to      Customer       all     instruments         and       other
                 documents, and shall take such other actions as may be
                 necessary           or       reasonably            requested           by
                 Customer, so that Customer may protect and defend its rights
                 in and to such Developed Property.



In other words, the software, materials, Deliverables, work product and works of authorship
created by HPS pursuant to the MSA are not currently owned by Impactiva/Vaseo until HPS is
paid for its work. Please be advised that until such time, HPS claims ownership of all
Developed Property under the MSA.



In addition, given the current posture, HPS is not willing to continue to expend resources
without receiving value for those resources, so at this time, I think it appropriate and necessary
to continue with an agreeable transition plan. As always, we are willing to take into account any
requirements or concerns reasonably requested by you but the disconnect as to HPS’ lost
profits/equity stake must be addressed contemporaneously in that conversation.



Because it is clear that the two sides have a dispute as to the MSA. We hereby invoke Section
9.2 of the MSA and submit this email as written Notice under Section 9.2 of the MSA of HPS’s
claim for non-payment of fees and for ownership of the Developed Property. The summary of
HPS position is set forth herein. I will be the executive who will represent HPS in the resolution
of this dispute.



Please submit a response to this Notice in the next ten (10) days. I am traveling out of the
country until Nov 3 but would be glad to set up a meeting telephonically at a mutually agreeable
time.




                                                                                                     Page 6 of 7
     As part of the discussions to resolve this dispute, we can discuss the proposed transition and its
     scope. While negotiations are being conducted, I will remind you that Section 19.8 of the MSA,
     with       certain      specific       exceptions,        prohibits   Impactiva/Vaseo        from
     directly           or          indirectly          soliciting        any          of           the
     other party’s employees or contractors to leave their employment or consulting engagement or
      hiring any of the HPS’ personnel. We ask you to keep this in mind while we attempt to work
     these disagreements.


     Sincerely,

     Vinay



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